      Case 2:15-bk-54242               Doc 41             Filed 06/21/17 Entered 06/21/17 09:44:23                           Desc Main
                                                          Document     Page 1 of 5
 Fill in this information to identify the case:

 Debtor 1        Steven R. Szanyi

  Debtor 2
                 (Spouse if Filing)

 United States Bankruptcy Court for the:                   Southern            District of         OH
                                                                                                 (State)

 Case Number     15-54242




Official Form 410S1
                                                                                                                                            12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                       U.S. Bank Trust National Association, as Trustee    Court claim no. (if
   Name of Creditor    for Towd Point Master Funding Trust 2015-LM4        known):                                     4-1

   Last 4 digits of any number you use to identify                         Date of payment change:
   the debtor's account:                                    9370           Must be at least 21 days after date of    August 1, 2017
                                                                           this notice

                                                                           New total payment:                                   773.25
                                                                           Principal, interest, and escrow, if any




 1. Will there be a change in the debtor's escrow account payment?
        No
      X Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
             the basis for the change. If a statement is not attached, explain why:


               Current escrow payment:            $          247.35                          New escrow Payment: $              235.28




 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
       variable-rate account?
      X No
         Yes   Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
               not attached, explain why:


               Current interest rate                                  %                      New Interest rate:                       %
               Current principal and interest payment:         $                   New principal and interest payment: $




 1. Will there be a change in the debtor's mortgage payment for a reason not listed above?
      X No
        Yes    Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
               agreement. (Court approval may be required before the payment change can take effect.)
               Reason for Change:
               Current mortgage payment:              $                           New Mortgage Payment: $



Official Form 410S1                                          Notice of Mortgage Payment Change                                            page 1
     Case 2:15-bk-54242                    Doc 41        Filed 06/21/17 Entered 06/21/17 09:44:23                                   Desc Main
                                                         Document     Page 2 of 5
Debtor 1                                                                                  Case Number (if
                 Steven                   R.                   Szanyi                     known)                                15-54242
                 First Name               Middle Name          Last Name



                     !


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
           I am the creditor

         X I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of
my knowledge, information, and reasonable belief:


                         /s/Steven H. Patterson                                              Date     06/21/2017
                      Signature


Print:                Steven                     H.                 Patterson (0073452)       Title         Attorney for Creditor
                      First Name                 Middle Name        Last Name

Company               Reisenfeld & Associates, LPA-LLC

Address               3962                  Red Bank Road
                      Number                Street

                      Cincinnati                          OH                45227
                      City                                State             Zip Code

Contact Phone         (513)       322   - 7000                                                Email          ohbk@rslegal.com




Official Form 410S1                                             Notice of Mortgage Payment Change                                          page 2
    Case 2:15-bk-54242             Doc 41    Filed 06/21/17 Entered 06/21/17 09:44:23                 Desc Main
                                             Document     Page 3 of 5
                                            CERTIFICATE OF SERVICE
                       21st day of _____________________,
I certify that on the ______        June                    2017
                                                            _______ a copy of U.S. Bank Trust National
Association, as Trustee for Towd Point Master Funding Trust 2015-LM4's Notice of Mortgage Payment
Change was served:
Via the Court's electronic case filing system on these entities and individuals who are listed on the Court's
Electronic Mail Notice List:
         Via ECF Mail:
                      Laura M Nesbitt, Debtor's Counsel
                      laura@nesbittfirm.com
                      Faye D. English, Bankruptcy Trustee
                      notices@ch13columbus.com
                      U.S. Trustee
                      ustpregion09.cb.ecf@usdoj.gov
         Via Regular U.S. Mail, postage prepaid on:
                      Steven R. Szanyi , Debtor
                      3983 Poppysead Ct.
                      Columbus, OH 43207
                      Steven R Szanyi , Debtor
                      3983 Poppyseed Ct.
                      Columbus, OH 43207




                                                                          /s/Steven H. Patterson
                                                                          Steven H. Patterson, Esq.




Official Form 410S1                               Notice of Mortgage Payment Change                          page 3
Case 2:15-bk-54242   Doc 41   Filed 06/21/17 Entered 06/21/17 09:44:23   Desc Main
                              Document     Page 4 of 5
Case 2:15-bk-54242   Doc 41   Filed 06/21/17 Entered 06/21/17 09:44:23   Desc Main
                              Document     Page 5 of 5
